Case 1:17-cr-00232-EGS Document 279-2 Filed 09/28/20 Page 1 of 1

IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

Case No.: 17-cr-00232

UNITED STATES OF AMERICA
Plaintiff,
Vs.
MUCHAEL FLYN
Defendant(s],

Nee eee ea eee

ORDER ON MOTION FOR LEAVE TO FILE BRIEF OF AN AMICUS
CURIAE

COME NOW Amicus Curiae Vets for Trump, Julio Martinez,
, and

The Court having been informed of the issues and in the interest of justice
the Court GRANTS DENIES

Movants motion for leave to file an Amicus Curiae brief.

In chambers, this day of 2020

Emmet G. Sullivan
U.S. District Judge
